838 F.2d 1210Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Tony NIXON, Plaintiff-Appellant,v.Charles WHITTING, Defendant-Appellee.
    No. 87-7250.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 30, 1987.Decided:  Feb. 2, 1988.
    
      William Tony Nixon, appellant pro se.
      Before WIDENER, MURNAGHAN, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Tony Nixon noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."    Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or file a timely motion for an extension of the appeal period deprives this Court of jurisdiction to consider this case.    See Shah v. Hutto, 722 F.2d 1167 (4th Cir.1983) (en banc), cert. denied, 466 U.S. 975 (1984).  We therefore dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    